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                            EXHIBIT 2(a)
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ATTENDANCE AND PUNCTUALITY

Because every absence disrupts operations and creates a hardship for other employees, our Company
standard is excellent attendance. This Attendance Guideline establishes our attendance requirements
and is subject to revision from time to time as needed.

Each employee is responsible for his or her own attendance and for being aware of their current
attendance status. Please keep in mind that poor attendance patterns may have an effect on other job-
related criteria such as job promotions, wage increases, etc.

The intent of this guideline is to establish the maximum acceptable absenteeism limit. So long as
employees stay below that limit, and no unacceptable patterns exist, no formal corrective action is
taken unless warranted by a particular situation. However, when that limit is reached or exceeded,
discharge from employment will result.



DEFINITIONS:

A.     Absence point - Absentee records will be based on "Absence points.” Absence points are
obtained by violating any one of the following:



         1.      If an employee is absent for up to three (3) consecutive days, for the same reason, he or
she will be charged with 1 absence point, provided he or she personally calls in each day of absence and
states the reason for being absent. After the third day, employees will need to provide verifiable
documentation to the Human Relations Department if the absence needs to extend past the third day.




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Employees have responsibility for calling in and must do so daily unless physically unable or otherwise
instructed by the Continental Occupational Health provider.

         2.       Employees must call in to report their absence no later than one (1) hour prior to the
start of their shift. Reporting an absence less than one hour prior to the start of the shift will be
considered a “no call, no show”, and will result in an additional 1 absence point.

         3.       Failure to call in or show up for a scheduled shift is considered a “no call, no show” and
will result in an additional 1 absence point. Failure to call in for three (3) consecutive days will be
considered an automatic resignation without notice.

        4.      If an employee reports to work more than two (2) hours late or leaves work more than
two (2) hours early, he or she will be charged with one absence point.

       5.        If an employee reports to work less than two (2) hours late or leaves work less than two
hours early, he or she will be charged with half (.5) an absence point.

         6.     Scheduled overtime, physical therapy / doctor’s appointments relating to worker’s
compensation, or scheduled work-related appointments will be considered a regularly scheduled work
day for the purposes of administering these guidelines.

        7.       An employee’s absence may not normally exceed their length of employment. These
instances will be reviewed on a case by case basis and depending on circumstances could result in
discharge.

        8.      If an employee leaves his/her work area without authorization, does not return to the
job and hasn’t notified the immediate supervisor of an emergency situation, this will be considered job
abandonment and will be classified as a resignation.

An accumulation of six (6) absence points or unexcused absences within any rolling 12 month period will
normally result in the employees discharge. Incidents will drop off on a rolling twelve (12) month basis.



B.      Excused Absence - Exceptions in counting absence points are:

        1.      Bereavement Leave per guidelines

        2.      Jury or military duty

        3.      Holidays

        4.      Equipment scheduled down

        5.      Approved leave under the Family & Medical Leave Act

        6.      Approved time off under the plant PTO Guidelines



C.       Use of Paid Time Off Day (PTO) - PTO is normally not granted without adequate notice (usually
not less than 12 hours). However, if an employee makes a request indicating unusual or emergency




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circumstances, the Supervisor may approve the use of PTO time with less than 12 hours’ notice in lieu of
an absence point.



D.       Recognizing Excellent Attendance – Employees with three (3) consecutive months of zero (0)
incidents will have one (1) absence point dropped off of their attendance record. Employees must verify
this with Human Relations, who will drop one absence point accumulated within the past twelve (12)
consecutive months.



E.       Employee Notification and Warning Schedule:



         1.    When employees reach 3 absence points they will be issued a formal warning letter that
will be documented in their employee file.

         2.       Once an employee reaches 5 absence points they will be issued a formal, final warning
letter that will be documented in their employee file.

       3.     An accumulation of six (6) absence points or unexcused absences within any rolling 12-
month period will result in the employee’s discharge



Employees will not be allowed to “bank” any absence points for future use.




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